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 15
                           UNITED STATES DISTRICT COURT
 16                      SOUTHERN DISTRICT OF CALIFORNIA
 17   APRIL KRUEGER, individually and on         Case No. 03-cv-2496-JAH (MDD)
 18   behalf of all others similarly situated,
                                                 MEMORANDUM IN SUPPORT
 19               Plaintiffs,                    OF PLAINTIFF’S UNOPPOSED
                                                 MOTION FOR PRELIMINARY
 20         vs.                                  APPROVAL OF CLASS ACTION
 21                                              SETTLEMENT
      WYETH, INC. f/k/a AMERICAN
      HOME PRODUCTS, a Pennsylvania              District Judge: Hon. John A. Houston
 22   corporation; WYETH
 23   PHARMACEUTICALS f/k/a WYETH                Date Action Filed: December 12, 2003
      AYERST PHARMACEUTICALS, a
 24   Pennsylvania corporation; and DOES 1       Date Motion Filed: March 11, 2020
      through 100, Inclusive,
 25                                              Hearing Date: March 23, 2020
 26               Defendants.                    Time: 2:30 PM
                                                 Courtroom: 13B
 27
 28
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  1         Pursuant to Federal Rule of Civil Procedure 23(e), Plaintiff April Krueger
  2
      respectfully submits this memorandum of law in support of her unopposed motion
  3
  4   for preliminary approval of the proposed Class Settlement Agreement between the
  5   previously-certified Plaintiff Class and the Defendants in this action. Plaintiff’s
  6
      unopposed motion seeks the entry of an order providing for: (1) the preliminary
  7
  8   approval of the Class Settlement; (2) the approval of the proposed Class Notice Plan
  9
      prepared by Kinsella Media; (3) the approval of Rust Consulting as the Claims
 10
 11   Administrator; (4) the approval of the parties’ proposed Claims process; and, (5) the

 12   establishment of a Final Approval Hearing schedule.
 13
                                              INTRODUCTION
 14
 15         After more than sixteen (16) years of hard-fought litigation, over four (4)
 16
      months of thorough, arms-length negotiations, and with the current May 11, 2020,
 17
 18   trial setting close at hand, the parties have reached a proposed Settlement Agreement

 19   that would fully, fairly, and adequately resolve the consumer protection claims of the
 20
      Plaintiff Class against Defendants Wyeth, et al. (“Defendants”). See, Decl. of D.
 21
 22   Byrne, Exhibit 1 (Settlement Agreement). The proposed Settlement was reached
 23   only after the parties conducted extensive written discovery, deposed fact and expert
 24
      witnesses, and engaged in complicated motion practice on a host of dispositive, non-
 25
 26   dispositive and appellate issues. Additionally, the parties’ negotiations were guided
 27
      by the Court’s recent summary judgement and expert-related Orders.
 28
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  1           The proposed Settlement would require Defendants to pay $200,000,000 into
  2
      a non-reversionary Class Settlement fund. Settlement Class Members who submit
  3
  4   valid and timely claims would be able to obtain recovery through one of two
  5   payment options described below. Notice of the settlement and its benefits would be
  6
      delivered to the Class via a robust Notice Plan ensuring “the best notice that is
  7
  8   practicable under the circumstances, including individual notice to all members who
  9
      can be identified through reasonable effort.” See, Rules 23(c)(2)(B) and 23(e)(1).
 10
 11           Class Counsel believes that the proposed Settlement is fair, reasonable,

 12   adequate, and in the best interests of the Class, particularly in view of the costs, risks
 13
      and delays of trial and any subsequent appeal(s). Id., Decl. of D. Byrne at ¶ 7. For
 14
 15   these reasons and those described below, Plaintiff respectfully urges the Court to
 16
      grant her unopposed motion for preliminarily approval of the proposed Class
 17
 18   Settlement.

 19                                I. RELEVANT PROCEDURAL BACKGROUND
 20
              This consumer protection class-action lawsuit was filed on December 12,
 21
 22   2003. Doc. No. 1. 1 Plaintiff’s claims arise from the allegation that, between January
                              0F




 23   1995 and January 2003 (the “Class Period”), Defendants violated California
 24
 25   1
        The Judicial Panel on Multidistrict Litigation initially transferred the case to the Eastern District of Arkansas for
      coordinated pretrial proceedings pursuant to 28 U.S.C. § 1407, which consolidated Plaintiff’s complaint with those of
 26   other class action complaints as part of In re Prempro Prods. Liab. Litig., 230 F.R.D. 555 (E.D. Ark. 2005) (MDL-1507).
      See Doc. Nos. 6 & 7. Thereafter, Plaintiff’s case was remanded back to this district after the Arkansas court declined to
 27   certify a multi-state class of consumers alleging consumer fraud and seeking medical monitoring for any future injuries
 28   arising from their use of Prempro. See Doc. Nos. 8 & 9.

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  1   consumer protection laws by conducting a long-term, systematic and widespread
  2
      marketing campaign designed to misrepresent the benefits and health risks
  3
  4   associated with their hormone replacement therapy (“HRT”) drugs (Premarin,
  5   Prempro, and Premphase). Plaintiff alleges that this conduct violated California’s
  6
      Unfair Competition Law (“UCL”) (Cal. Bus. & Prof. Code §§ 17200-17210) and
  7
  8   Consumer Legal Remedies Act (“CLRA”) (Cal. Civ. Code §§ 1750-1784). Plaintiff,
  9
      on behalf of herself and others similarly situated (the “Class”), seeks both damages
 10
 11   under the CLRA and restitution under the UCL as a result of Class Member

 12   purchases of Defendants’ HRT products during the Class Period. For their part,
 13
      Defendants deny the Plaintiff’s allegations and vigorously dispute the restitution and
 14
 15   damage calculations prepared by the Plaintiff’s economic damages expert, Professor
 16
      Meredith Rosenthal, Ph.D.
 17
 18         On March 30, 2011, this Court granted in part and denied in part the

 19   Plaintiff’s class certification motion, doc. no. 108, and certified the following Class:
 20
            All California consumers who purchased Wyeth’s Hormone
 21
            Replacement Therapy products, Premarin, Prempro, and/or
 22         Premphase, for personal consumption between January 1995 and
 23         January 2003, and were exposed to a representation from Wyeth, or
 24         health care providers, or read in literature in which Wyeth advertised
            or provided to third parties to be disseminated under its brand or the
 25
            third parties’ brand, that Premarin, Prempro, and/or Premphase
 26         lowered cardiovascular, Alzheimers and/or dementia risk, or did not
 27         increase breast cancer risk, and do not seek personal injury damages
 28         resulting therefrom.
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  1         Defendants filed a Motion for Reconsideration of the Class Certification
  2
      Order, doc. no. 110-1, which the Court denied on July 13, 2011. Doc. No. 122.
  3
  4   Defendants then filed a petition for permission to appeal the Order certifying the
  5   class and the Order denying the motion for reconsideration. Doc. No. 123. The
  6
      Ninth Circuit denied the petition on October 18, 2011. Doc. No. 124.
  7
  8         A month later, the parties filed a Joint Discovery Plan with the Court that
  9
      called for extensive fact and expert discovery. Doc. No. 126. Thereafter, the Court’s
 10
 11   April 13, 2012, Amended Order Regulating Discovery and Other Pretrial

 12   Proceedings established a fact discovery deadline of June 15, 2012, and an expert
 13
      discovery deadline of August 10, 2012. Doc. No.152. By joint motion, the parties
 14
 15   requested – and the Court granted -- an extension of the fact discovery deadline to
 16
      July 20, 2012, to allow for nine (9) additional fact depositions. Doc. Nos. 158, 159.
 17
 18         On September 10, 2012, Defendants filed a motion for summary judgment, a

 19   motion to exclude the testimony of Plaintiff’s damages expert, Dr. Meredith
 20
      Rosenthal, and a motion for decertification of the Class, which the parties fully
 21
 22   briefed. See Doc. Nos. 206, 208, 209, 220, 223, 224, 232-234, 266, 267, 270-73.
 23   Following a thorough hearing on the motions, the Court denied Defendants’ motions
 24
      as moot, without prejudice, and based on evidence gathered during discovery and
 25
 26   presented in opposition to Defendants’ motion to decertify the Class, invited the
 27
      parties to submit supplemental briefs addressing modification of the class definition.
 28
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  1   See Doc. No. 274. The parties subsequently filed briefs in response to the Court’s
  2
      invitation. See Doc. No. 278, 279, 280, 281.
  3
  4         On October 7, 2015, the Court denied Defendants’ request to decertify the
  5   class and granted Plaintiff’s request to remove the “exposure” language from the
  6
      original class definition. Doc. No. 295. With this modification, the certified Class
  7
  8   now consists of:
  9
            All California consumers who purchased Wyeth’s Hormone
 10         Replacement Therapy products, Premarin, Prempro, and/or
 11         Premphase, for personal consumption between January 1995 and
 12         January 2003, and who do not seek personal injury damages resulting
            therefrom.
 13
 14         Id. at 20.
 15         Thereafter, Defendants filed a motion seeking to amend the scheduling order
 16
      to allow for absent class member discovery. Doc. No. 305. The motion was fully
 17
 18   briefed by the parties, doc. nos. 306, 308, 312, and Magistrate Judge Dembin denied
 19
      the motion on April 4, 2016. Doc. No. 323.
 20
 21         While the Defendants’ absent class member discovery motion was pending,

 22   Defendants also filed additional renewed motions to exclude expert testimony and a
 23
      renewed motion for summary judgement. See Doc. Nos. 317, 341. Both motions
 24
 25   took issue with the damage and restitution calculations of the Plaintiff’s expert,
 26
      Professor Meredith Rosenthal, Ph.D. See Doc. Nos. 326, 340, 342, 350, 351, 353,
 27
 28
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 1   359, 360. 2 1F




 2
             In preparing the damages’ calculations, Dr. Rosenthal was directed to utilize
 3
 4   the class definition certified by this Court on March 29, 2011 (doc. nos. 108, 326-2
 5   at 4-5) and “assume that all California consumers who purchased Premarin,
 6
     Prempro, and/or Premphase” would be members of the Class unless they had a
 7
 8   personal injury claim. Id. at 5. She “calculated damages incurred by [] end-payer
 9
     purchasers of Wyeth’s [HRT] products[.]” Id. at 2. As a result, she provided the
10
11   following opinions: (1) total dollar amount spent on prescriptions ($1.3 billion); (2)

12   total out-of-pocket costs paid by class members ($590.2 million); and (3) profit
13
     earned by Wyeth as a result of sales to members of the class ($771.6 million), all of
14
15   which were limited to the class period. Id. at 6.
16
             Importantly, Dr. Rosenthal’s $590.2 million Out-of-Pocket Payments
17
18   calculation was obtained by adding: (i) the number of prescriptions for uninsured

19   California consumers multiplied by the total retail prescription price; plus (ii) the
20
     number of prescriptions for insured California consumers who paid a fixed copay
21
22   amount multiplied by the average fixed copay amount; plus (iii) the number of
23   prescriptions for insured California consumers who paid a percentage coinsurance
24
25
     2
      Additionally, Defendants filed an Omnibus Motion to Exclude the Testimony of Plaintiff’s Medical Experts, doc. no.
26   318, and a separate Motion to Exclude the Testimony of Drs. Blume, Austin, Parisian, Hollon, and Fugh-Berman, doc.
     no. 319. The parties fully briefed these motions, doc. nos. 325, 327, 328, 334, 335, 336, before the Court denied
27   Defendants’ Omnibus Motion and granted in part and denied in part Defendants’ Motion to Exclude specific experts.
     Doc. No. 355.
28
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 1   amount multiplied by the average coinsurance amount. See, Doc. No. 342-32
 2
     (Rosenthal Decl.) at 9 ¶¶ 21-24.) Dr. Rosenthal then excluded California consumers
 3
 4   who were covered by California Medicaid (“Medi-Cal”) from her calculation
 5   because these individuals would not have been required to pay a copay or any other
 6
     monies out of pocket. Id. at ¶ 22.
 7
 8         In their March 28, 2016, Motion to Exclude the Testimony of Dr. Rosenthal,
 9
     Defendants argued that Dr. Rosenthal’s calculations and opinions failed to account
10
11   for the value or benefit that Class members received from the use of their products --

12   irrespective of any misrepresentations or omissions they may have made about its
13
     risks or other benefits. See Doc. No. 317. Similarly, Defendants’ argued in their May
14
15   16, 2016, Motion for Summary Judgment that Plaintiff had failed to put forward
16
     sufficient evidence of injury or actual reliance by Class members on the alleged
17
18   misrepresentations and omissions. See Doc. No. 341.

19         After both motions were fully briefed and orally argued, the Court issued its
20
     July 7, 2019, Order Denying Defendants’ Motion to Exclude [Dr. Rosenthal’s]
21
22   Expert Testimony and Granting in Part and Denying in Part Defendants’ Motion for
23   Summary Judgment. See Doc. No. 382. Among other things, the Court’s Order
24
     found:
25
26             • That it may “presume and infer from the evidence [that] a
27                 causal connection exists between Defendants’ unlawful conduct
28                 and the purchase of Defendants’ products by class members –
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 1                 specifically those purchases during the period when Defendants
 2                 allegedly failed to disclose material facts pertaining to the
 3                 extent of health risks involved.” Id. at 15:25 – 16:1.
 4             • That “[t]he class definition is sufficiently defined to ensure
 5                 members within it have standing, and narrow enough to avoid
 6                 encompassing a large number of members who could not have
 7
                   been harmed”, and that “[f]urther, [] the class definition
 8
                   conforms with Plaintiff’s prevailing theory of liability.” Id. at
 9
                   16:3-6.
10
               • That “[b]ecause the Court has no facts from which it can
11
                   determine actual retail prices or the retail price differential
12
                   between Wyeth’s HRT products and similar HRT products sold
13
                   in California during the same time period, the statutory
14
                   minimum is the appropriate award of damages”….The Court
15
16                 finds that there is an absence of evidence to support Plaintiff’s

17                 claim for actual damages under the CLRA and therefore

18                 GRANTS Defendants’ motion for summary judgment as to
19                 actual damages.” Id. at 20:17-23.
20             • That for purposes of the Class UCL remedies, “the evidence
21                 presented [by Plaintiff] is sufficient to create a genuine issue of
22                 material fact as to whether a reasonable consumer would have
23                 purchased Defendants’ products had she known all the
24                 information           and        whether          Defendants’           alleged
25                 misrepresentations and omissions were a determining factor in
26                 Plaintiff’s decision to purchase.” Id. at 26:12-16.
27             • That “the portion of Defendants’ profits which were obtained
28
                   directly from members of the class as a result of Wyeth’s
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                                      38



 1                     alleged omissions or false statements is the out-of-pocket cost -
 2                     or up to $590.2 million of the 771.6-million-dollar profit.” Id. at
 3                     29:1-4 (emphasis supplied).
 4                 • That “Dr. Rosenthal’s calculations, specifically the out-of-
 5                     pocket refund model and Wyeth Profit model, provide a
 6                     reasonable basis and constitute a suitable method under
 7
                       Plaintiff’s theory of liability by which to calculate restitutionary
 8
                       disgorgement.” Id. at 29:14-17 (emphasis supplied); and,
 9
                   • Defendants’ motion for partial summary judgment, “limiting
10
                       recovery to the amount actually paid by Plaintiff and class
11
                       members, up to $590.2 million, is GRANTED.” Id. at 29:21-
12
                       23 (emphasis supplied).
13
               Following this Order, the Court scheduled the trial of this case for May 5,
14
15   2020. Doc. No. 383. The Court also entered a supplemental briefing schedule for
16
     the Defendants’ objections to the Magistrate Judge’s decision denying their request
17
18   for absent class member discovery. Id.                         After the parties submitted their
19   supplemental briefs, doc. nos. 389, 390, the Court entered its October 1, 2019, Order
20
     overruling Defendants’ objections to the Magistrate Judge’s order. Doc. No. 391.
21
22             Thereafter, the parties began to actively discuss a proposed Class Settlement.
23
     See, Decl. of D. Byrne, at ¶ 5. The parties’ settlement discussions spanned four
24
25   months, with counsel for the parties exchanging and discussing numerous settlement

26   proposals and terms before finally reaching an agreement on March 10, 2020. Id. at
27
     ¶ 6.
28
                                                                                       CASE NO. 03-cv2496-JAH (MDD)
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 1                     II. SUMMARY OF THE PROPOSED SETTLEMENT
 2         The parties’ proposed Settlement Agreement includes the key terms
 3
     summarized below.
 4
 5         A. The Settlement Class and Released Claims
 6         Under the terms of the parties’ proposed Settlement, the Settlement Class
 7
     would be identical to the Class that the Court certified in its October 7, 2015, Order,
 8
 9   to wit:
10
           All California consumers who purchased Wyeth’s Hormone
11         Replacement Therapy products, Premarin, Prempro, and/or
12         Premphase, for personal consumption between January 1995 and
13         January 2003, and who do not seek personal injury damages resulting
           therefrom.
14
15   Doc. No. 295 at 20. See also, Decl. of D. Byrne, Exhibit 1 at §1.30.
16         In return for the monetary consideration described below, Settlement Class
17
     Members would release Defendants from the following claims:
18
19                 [A]ny and all economic damage claims of any type that the
                   Representative Plaintiff or any Settlement Class Member,
20
                   whether directly, representatively, derivatively, or in any other
21                 capacity, ever had, now has or may have against any of the
22                 Released Persons arising out of or related in any way to her
                   purchase of Premarin, Prempro and/or Premphase in the State
23                 of California during the class period, including but not limited
24                 to the claims asserted in the Litigation. This Class and the
                   Released Claims do not include any claims for personal injury
25                 or death, or claims derivative of such claims, or as to
26                 physicians, medical facilities, and pharmacies …. or for any
                   claims other than for the recovery of the value of Premarin,
27
                   Prempro and/or Premphase. This Settlement does not revive
28                 any claims not included in Released Claims.
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 1   Id. at §1.25.
 2
           B. The Proposed Monetary Consideration
 3
           The parties’ proposed Settlement Agreement states that the Defendants will
 4
 5   pay $200,000,000 into a Common Fund Escrow Account (or, “Common Fund”). Id.
 6
     at §4.2. With respect to timing, the Agreement states that within ten (10) days of
 7
 8   this Court’s order granting preliminary approval of the Settlement, Defendants will

 9   transfer and deposit $1,000,000 into the Common Fund account, with the remaining
10
     $199,000,000 to be transferred and deposited into the Common Fund account within
11
12   thirty (30) days thereafter. Id.
13
           The Settlement Agreement states that the monies deposited into the Common
14
15   Fund account would be used, among other things, to pay claims to the Settlement

16   Class Members for their out-of-pocket costs to purchase Premarin, Prempro, and/or
17
     Premphase prescriptions during the Class Period; to pay the cost of providing notice
18
19   to the Settlement Class of the proposed settlement; to pay Class Counsels’ fees and
20
     expenses as awarded by the Court; to pay the costs and expenses of administering
21
22   the settlement; and, to pay an incentive award to the named Plaintiff as permitted by

23   the Court. Id. at §4.1. If the aggregate amount of paid claims, plus the incentive
24
     award awarded by the Court, plus the Class Counsel fees and expenses awarded by
25
26   the Court, plus the notice and administration costs, is less than the Settlement
27   Amount (plus interest) remaining in the Common Fund, then the parties would ask
28
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 1   the Court to decide how the remainder of the funds from the Settlement Amount
 2
     should be distributed, but in any case, they would not be returned to the Defendants,
 3
 4   or paid to Class Counsel. Id. at §4.8. Conversely, the Settlement Agreement
 5   provides that if the total value of claims submitted by Settlement Class Members
 6
     were to exceed the Settlement Amount, the claims would be reduced on a pro-rata
 7
 8   basis. Id. at §4.3.
 9
            Settlement Class Members who submit valid and timely claims would be able
10
11   to obtain recovery through one of two payment options (“Option 1” or “Option 2”).

12   Id. at §4.4.
13
        • Payment Option 1 – Under this option, a Settlement Class Member could
14
            obtain a one-time payment from the Common Fund of Four Hundred Fifty-
15
            Eight Dollars and Sixty-Four Cents ($458.64); an amount equivalent to the
16
17          average out-of-pocket cost of Premarin, Prempro and Premphase during the

18          Class Period ($13.50), adjusted for inflation ($19.11), and multiplied by 24-

19          months. Id. at § 4.4.1.
20      • Payment Option 2 – Under this option, a Settlement Class Member could
21          obtain a one-time payment from the Common Fund of Nineteen Dollars and
22          Eleven Cents ($19.11) for each and every month the Settlement Class Member
23          purchased Premarin, Prempro and/or Premphase during the Class Period, and
24          which is supported by proof of purchase (up to a maximum of 97 months or,
25          $1,853.67). Id. at §4.4.2. The $19.11 monthly amount represents the average
26          out-of-pocket cost of Premarin, Prempro and Premphase during the Class
27          Period ($13.50) adjusted for inflation from January 2003 to November 2019,
28          as calculated by the U.S. Bureau of Labor CPI inflation calculator
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 1          (https://data.bls.gov). Id.
 2
            The parties believe that the Option 1 and Option 2 payment structures will
 3
 4   maximize Class Member participation in the claim program and provide substantial
 5
     cash compensation that conforms to the “out-of-pocket payment” model that the
 6
 7   Court found to be reasonable in its recent summary judgment order. Doc. No. 382,

 8   at 29:1-23.
 9
            C. The Proposed Claims Process and Claims Administrator
10
11          With the assistance of Rust Consulting, the parties have prepared a Claim

12   Form and HIPAA Release, which Settlement Class Members can complete and
13
     submit by mail or online at the settlement website www.CaliforniaHRTClass.com.
14
15   See, Decl. of D. Byrne, Exhibit 1-C (Claim Form & HIPAA Release). Claim Forms
16
     would be available to Settlement Class Members online or by calling a toll-free
17
     number and requesting that one be mailed to them. See, Decl. of D. Byrne, Exhibit 1
18
19   at §4.11, §4.12, §4.18.5, and §4.18.7. Class Members who previously registered
20
     online as part of the certification notice process, would be mailed a copy of the
21
22   Claim Form automatically within 45 days of the Court’s preliminary approval order.
23   Id. at §4.18.4 and §5.3. 3 The parties’ proposed Settlement Agreement would allow
                                  2F




24
     Settlement Class Members four (4) months from the date that Claim Forms (and
25
26   Notices) are first mailed to submit their Claim Forms. Id. at §5.8.
27
     3
      According to Rust Consulting, 2,095 individuals have registered on the Class website to date, and an
28   additional 362 individuals have registered by mail, for a total of 2,457 registered individuals.
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 1         Under the proposed Settlement, Class Members who elect to submit an Option
 2
     1 claim, would be required to complete and sign a declaration on the Claim Form
 3
 4   and provide limited information about their HRT prescription purchases during the
 5   class period. Id. at §4.4.1.1. However, Option 1 claimants would not be required to
 6
     submit proof-of-purchase documentation.
 7
 8         For Option 2 claimants, the proposed Settlement requires them to complete
 9
     and sign a declaration on the Claim Form and indicate the number of months that
10
11   they purchased HRT prescriptions during the Class Period.                           Id. at §4.4.2.1.

12   Additionally, Option 2 claimants would be required to submit adequate proof-of-
13
     purchase for the claimed number of months. Id. Acceptable “proof-of-purchase”
14
15   would include any of the following:
16
               • A receipt, cancelled check, or credit card statement showing payment
17
                   for HRT prescriptions for the claimed number of months;
18
               • A letter from a doctor saying that he or she prescribed HRT to the
19
                   Settlement Class Member for the claimed number of months and the
20
                   approximate dates for which usage was prescribed;
21
               • An EOB (explanation of benefits) from a third-party payor that shows
22
23                 HRT was prescribed for the Settlement Class Member for the claimed

24                 number of months;

25             • Records from a pharmacy, PBM or similar entity showing HRT was
26                 prescribed for the Settlement Class Member for use during the claimed
27                 number of months; or,
28             • A separate declaration (provided in the Claim Form) identifying the
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 1                 prescription purchase dates, and the name and address of any doctor,
 2                 hospital, medical facility, or pharmacy that prescribed or dispensed
 3                 HRT for the Settlement Class Member during the Class Period, and an
 4                 executed HIPAA authorization to enable the Claims Administrator to
 5                 obtain records to verify the subject HRT prescriptions.
 6
 7   Id. at §4.4.2.1 and §4.4.2.2.

 8         The proposed Settlement also includes a detailed audit process for both
 9
     Option 1 and Option 2 claims that will be overseen by the Claim Administrator. Id.
10
11   at §4.14 - §4.17.
12
           Plaintiff proposes the appointment of Rust Consulting as the Claim
13
14   Administrator for the Settlement and for the related Notice and Claims Process. The

15   Defendants support this appointment. Rust Consulting is a nationally recognized
16
     notice and claims administration firm that the Court previously appointed in this
17
18   case to administer the class certification Notice process and to oversee and manage
19   the Class website. For this reason, the parties believe that Rust Consulting is the
20
     most capable and cost-effective choice for this position.
21
22         D. Objections and Exclusion Requests
23         The parties propose that any Class Member who intends to object to the
24
     Settlement must file their written objections with the Court within thirty (30) days
25
26   from the date of the final notice media publication (currently scheduled for June 14,
27
     2020). Id. at §5.4. Likewise, the parties propose that any Class Member who wishes
28
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 1   to exclude themselves (or, “opt-out”) from the Settlement must mail a written
 2
     exclusion request to the Claims Administrator at the mailing address provided in the
 3
 4   Long-Form Notice and on the Settlement Website within thirty (30) days from the
 5   date of the final notice media publication. Id. at §5.5. Lastly, the parties propose
 6
     that the Claims Administrator provide a report regarding opt-out Class Members to
 7
 8   all parties and the Court within ten (10) days of the opt-out deadline. Id. at §8.5.
 9
           Assuming the final notice media publication date remains June 14, 2020, the
10
11   deadline for Class Member objections and opt-outs would be July 14, 2020, and the

12   Claims Administrator’s opt-out report would be due by July 24, 2020.
13
           E. Class Counsel Fees and Expenses and Plaintiff Service Award
14
15         Should the Court decide to preliminarily approve the proposed Settlement,

16   Class Counsel would be prepared to file their motion and application for attorneys’
17
     fees and expenses within forty-five (45) days of the Court’s Order – or at such
18
19   earlier time as the Court directs. Id. at §6.1. Class Counsel will request reasonable
20
     attorneys’ fees in an amount not to exceed twenty-five percent (25%) of the
21
22   Common Fund, and reasonable expenses in an amount not to exceed $3,500,000.

23   Any such Court approved fees and expenses will be paid out of the Common Fund.
24
     Id., see also, Decl. of D. Byrne at ¶ 8. Defendants have agreed not to oppose or
25
26   object to Class Counsel requesting attorneys’ fees in an amount not to exceed
27   twenty-five percent (25%) of the Common Fund, and reasonable expenses in an
28
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 1   amount not to exceed $3,500,000. Id.
 2
           Class Counsel will also request a service award for Plaintiff April Krueger in
 3
 4   the amount of $30,000. Id. at §6.2. Defendants have agreed not to oppose or object
 5   to such a request. Id.
 6
        III.   LEGAL STANDARD FOR PRELIMINARY APPROVAL OF
 7             SETTLMENT
 8
           Pursuant to Rule 23, a class action may only be settled with the Court’s
 9
10   approval. Fed. R. Civ. P. 23(e). Before a court renders approval, it must determine
11   that the settlement is “fundamentally fair, adequate, and reasonable.” Hanlon v.
12
     Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (citing Fed. R. Civ. P.
13
14   23(e)(2)). In a case such as this one, where the Court has already certified the Class,
15
     the proposed Settlement Agreement need not be held to the “higher standard of
16
17   fairness” required of pre-certification settlements. See, Hanlon, 150 F.3d at 1026.
18         At the preliminary approval stage, Rule 23 provides that approval should only
19
     be granted where the parties have “show[n] that the court will likely be able to . . .
20
21   approve the proposal under [the final approval factors in] Rule 23(e)(2).” Fed. R.
22
     Civ. P. 23(e)(1)(B) (emphasis added). Accordingly, consideration should be given to
23
24   the Rule 23(e) factors that inform final approval, namely, whether:

25         (A) the class representatives and class counsel have adequately
26         represented the class;
27         (B) the proposal was negotiated at arm’s length;
           (C) the relief provided for the class is adequate, taking into account:
28
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 1               (i) the costs, risks, and delay of trial and appeal;
 2               (ii) the effectiveness of any proposed method of distributing relief to
                 the class, including the method of processing class-member claims;
 3
                 (iii) the terms of any proposed award of attorney’s fees, including
 4               timing of payment; and,
 5               (iv) any agreement required to be identified under Rule 23(e)(3);
 6             and,
              (D) the proposal treats class members equitably relative to each other.
 7
 8            Fed. R. Civ. P. 23(e)(2).
 9
        IV.      THE PROPOSED SETTLEMENT SHOULD BE PRELIMINARILY
10               APPROVED
11
              Plaintiff respectfully submits that the parties’ proposed Class Settlement
12
13   satisfies all the Rule 23(e) factors and should be preliminarily approved by the
14   Court.
15
              A. Plaintiff April Krueger and Class Counsel Have Adequately
16               Represented the Class
17
              The first factor asks whether “the class representatives and class counsel have
18
19   adequately represented the class.” Fed. R. Civ. P. 23(e)(2)(A). “[T]he adequacy of
20
     representation requirement …. requires that two questions be addressed: (a) do the
21
22   named plaintiffs and their counsel have any conflicts of interest with other class
23   members and (b) will the named plaintiffs and their counsel prosecute the action
24
     vigorously on behalf of the class?” In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454,
25
26   462 (9th Cir. 2000).
27
              In this case, the Court found in its March 30, 2011, class certification Order
28
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 1   that Class Counsel and Plaintiff April Krueger have no conflicts of interest and can
 2
     adequately represent the Class Members. See Doc. No. at 21:21–22:25. Further, the
 3
 4   Court found that “the named representative and class counsel have been actively
 5   pursuing this litigation since 2003” and that the Court “has no difficulty finding that
 6
     both the named representative and class counsel will continue their vigorous
 7
 8   prosecution of this action.” Id. at 21:6 - 22:1.
 9
           These findings by the Court remain true today. For more than 16 years,
10
11   Plaintiff April Krueger and Class Counsel have vigorously prosecuted this action

12   through motion practice, extensive discovery, class certification, appeals, and
13
     settlement negotiations. Accordingly, this factor weighs in favor of preliminary
14
15   approval.
16
           B. The Proposed Settlement is the Product of Thorough, Arms-Length
17            Negotiation
18
           The second factor asks whether “the [settlement] proposal was negotiated at
19
20   arm’s length.” Fed. R. Civ. P. 23(e)(2)(B). The parties aggressively litigated this
21   action, and Class Counsel conducted an extensive investigation into and prosecution
22
     of the alleged claims. Class Counsel also engaged in a rigorous negotiation process
23
24   with defense counsel, and fully considered and evaluated the fairness of the
25
     proposed Settlement to the Settlement Class. See, Ellis v. Naval Air Rework Facility,
26
27   87 F.R.D. 15, 18 (N.D. Cal. 1980), aff’d, 661 F.2d 939 (9th Cir. 1981) (“the fact that

28   experienced counsel involved in the case approved the settlement after hard-fought
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 1   negotiations is entitled to considerable weight”); see also Spann v. JC Penney Corp.,
 2
     314 F.R.D. 312, 323-24 (C.D. Cal. 2016).
 3
 4         The parties reached their proposed Settlement after many months of
 5   negotiations and only after receiving the Court’s guidance and rulings on the
 6
     Defendants’ summary judgment motions; Daubert-related expert motions; and
 7
 8   motion to re-open discovery for absent class member discovery. Moreover, the
 9
     Court’s ruling on the methodology and appropriateness of Dr. Rosenthal’s $590.2
10
11   million Out-of-Pocket Payments calculation played a key role in the parties’

12   settlement discussions and in their proposed Class payment options. See, Declaration
13
     of D. Byrne, at ¶ 5.
14
15         Since the parties’ negotiations were conducted after extensive discovery and
16
     motion practice and after the Court set this case for trial, there is no possibility that
17
18   “the settlement was negotiated in haste or in the absence of information illuminating

19   the value of plaintiffs’ claims.” See, Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027
20
     (9th Cir. 1998). Accordingly, Plaintiff submits that the parties’ proposed Settlement
21
22   is “the product of serious, informed, non-collusive negotiations.” In re Tableware
23   Antitrust Litig., 484 F. Supp. 2d 1078, 1079–80 (N.D. Cal. 2007).
24
           C. The Relief Provided for the Class Under the Proposed Settlement is
25
              Adequate
26
27         The third factor requires the Court to consider whether “the relief provided for

28   the class is adequate, taking into account: (i) the costs, risks, and delay of trial and
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 1   appeal; (ii) the effectiveness of any proposed method of distributing relief to the
 2
     class, including the method of processing class-member claims; (iii) the terms of any
 3
 4   proposed award of attorney’s fees, including timing of payment; and (iv) any
 5   agreement required to be identified under Rule 23(e)(3).” Fed. R. Civ. P.
 6
     23(e)(2)(C).     In considering this factor, the amount offered in the proposed
 7
 8   settlement agreement is generally considered to be the most important feature of any
 9
     class settlement. See Bayat v. Bank of the West, No. C-13-2376 EMC, 2015 WL
10
11   1744342, at *4 (N.D. Cal. Apr. 15, 2015) (citing In re HP Inkjet Printer Litig., 716

12   F.3d 1173, 1178-79 (9th Cir. 2013)). Here, the Defendants have agreed to settle this
13
     matter for a non-reversionary total of $200,000,000.
14
15         In considering this proposed Settlement amount, the Court does not need to
16
     “specifically weigh[] the merits of the class’s case against the settlement amount and
17
18   quantif[y] the expected value of fully litigating the matter.” Rodriguez v. W. Publ’g

19   Corp., 563 F.3d 948, 965 (9th Cir. 2009). However, a comparison of the anticipated
20
     Class recovery under this Settlement and the “potential” Class recovery if Plaintiff
21
22   fully prevailed on her claims at trial (and then on appeal), clearly favors preliminary
23   approval of the Settlement.
24
           The Court’s July 7, 2019, Summary Judgment Order limited the Plaintiff’s
25
26   CLRA damages to the statutory minimum because the Court found “that there is an
27
     absence of evidence to support Plaintiff’s claim for actual damages under the
28
                                                                                   CASE NO. 03-cv2496-JAH (MDD)
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 1   CLRA.” See Doc. No. 382 at 20:17-23. With respect to the Class UCL remedies, the
 2
     Court’s order limited recovery “to the amount actually paid by Plaintiff and class
 3
 4   member, up to $590.2 million.” Id. at 29:1-23 (emphasis supplied). Thus, the
 5   proposed Settlement amount of $200 million represents 33.89% of the maximum
 6
     UCL recovery allowed by the Court. Given the risk that the Plaintiff may recover
 7
 8   less than $200 million for the Class at trial, this proposed settlement amount clearly
 9
     falls within a range that merits approval.
10
11                  1. The Costs, Risks, and Delay of Trial and Appeal Support
                       Preliminary Approval
12
13          The proposed Settlement would provide an immediate and significant cash
14   benefit to Settlement Class Members and represent a very favorable resolution of
15
     this action – particularly given the advancing age of individual Class Members, the
16
17   complexities of proving certain elements of the Settlement Class’s claims, the
18
     amount of time that has elapsed since the class period ended and, the inherent risks
19
20   of trial.    These considerations have been found to weigh heavily in favor of
21   settlement. See Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 966 (risk, expense,
22
     complexity and duration of litigation supports settlement); Curtis-Bauer v. Morgan
23
24   Stanley & Co., Inc., No. C 06-3903 TEH, 2008 WL 4667090, at *4 (N.D. Cal. Oct.
25
     22, 2008) (“Settlement avoids the complexity, delay, risk and expense of continuing
26
27   with the litigation and will produce a prompt, certain, and substantial recovery for

28   the Plaintiff class.”).
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 1         Also, Plaintiff submits that any delays in resolving this case would be
 2
     especially difficult on this Class, given the age of its members. Nearly every Class
 3
 4   Member was experiencing menopause or menopause-related symptoms during the
 5   Class Period (January 1995 to January 2003). Hence, Class Members are now
 6
     between 65 and 75 years of age -- or older. For this reason, there is a serious risk
 7
 8   that even if Plaintiff prevailed at trial and then on appeal, a significant number of
 9
     Class Members would never get to experience the fruits of this effort.                             This
10
11   Settlement, however, would allow a very sizable number of Class Members to obtain

12   a meaningful recovery that they can use and enjoy during their lifetimes.
13
                   2. The Proposed Method for Distributing Relief and Processing
14                    Claims is Effective
15
           Additionally, the parties’ proposed method and plan for distributing relief to
16
17   Settlement Class Members is appropriate and effective.                        “[T]he goal of any
18
     distribution method is to get as much of the available damages remedy to class
19
20   members as possible and in as simple and expedient a manner as possible.” See Final
21   approval criteria—Rule 23(e)(2)(C)(ii): Distribution method, 4 NEWBERG ON
22
     CLASS ACTIONS § 13:53 (5th ed.).
23
24         Here, the proposed claims process is straightforward and would allow
25
     Settlement Class members to make a claim under one of two payment options
26
27   (Option 1 or Option 2) by submitting a valid and timely Claim Form to the Claims

28   Administrator. See In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales
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 1   Practices, & Prod. Liab. Litig., No. 8:10ML 02151 JVS, 2013 WL 3224585, at *18
 2
     (C.D. Cal. June 17, 2013) (“The requirement that class members download a claim
 3
 4   form or request in writing a claim form, complete the form, and mail it back to the
 5   settlement administrator is not onerous.”). Class Members would be able to submit
 6
     claims within 45 days of the Court’s preliminary approval Order, and the claim form
 7
 8   submission process would continue for 4-months thereafter. Id. at §5.3 & §5.8.
 9
           Again, under payment Option 1, a Settlement Class Member can provide
10
11   limited information about their qualifying HRT prescription purchases and obtain a

12   one-time payment from the Common Fund of Four Hundred Fifty-Eight Dollars and
13
     Sixty-Four Cents ($458.64); an amount equivalent to the average out-of-pocket cost
14
15   of Premarin, Prempro and Premphase during the Class Period, adjusted for inflation
16
     ($19.11), and multiplied by 24-months. Id., at §4.4.1 & §4.4.1.1. Under Option 2, a
17
18   Settlement Class Member can obtain a one-time payment from the Common Fund of

19   Nineteen Dollars and Eleven Cents ($19.11) for each and every month the
20
     Settlement Class Member purchased Premarin, Prempro and/or Premphase during
21
22   the Class Period, and which is supported by proof of purchase (up to a maximum of
23   97 months or, $1,853.67). Id. at §4.4.2 and §4.4.2.1.
24
           Importantly, these amounts represent the average monthly out-of-pocket cost
25
26   of Premarin, Prempro and Premphase during the Class Period ($13.50) adjusted for
27
     inflation from January 2003 to November 2019 (or, $19.11), as calculated by the
28
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 1   Plaintiff’s damage expert, Dr. Rosenthal, and adjusted for inflation from January
 2
     2003 to November 2019 (or, $19.11). Therefore, barring an extraordinarily high
 3
 4   claim rate, the Settlement Class Members who submit valid and timely Claim Forms
 5   will almost certainly recover all their out-of-pocket payments for HRT prescriptions
 6
     during the Class Period. 4     3F




 7
 8           Lastly, the audit procedures set out in the parties’ proposed Settlement will
 9
     help ensure that the Claims Administrator, Class Counsel and the Court can
10
11   reasonably identify and address any false, fraudulent or otherwise problematic

12   claims. Id. at §§ 4.14 & 4.15.
13
                     3. The Proposed Attorneys’ Fee Award for Class Counsel is Fair and
14                      Reasonable
15
             As set forth in the proposed Settlement Agreement and the Class Notice, Class
16
17   Counsel will ask the Court to award reasonable attorneys’ fees in an amount not to
18
     exceed twenty-five percent (25%) of the Common Fund, and reasonable expenses in
19
20   an amount not to exceed $3,500,000, with such Court-approved fees and expenses to
21   be paid out of the Common Fund. Id. at §6.1, see also, Decl. of D. Byrne, at ¶ 8.
22
     Defendants have agreed not to oppose or object to Class Counsels’ request of
23
24   attorneys’ fees and expenses that do not exceed these amounts. Id.
25
             “[C]ourts have an independent obligation to ensure that [an attorneys’ fee]
26
     4
      A recent study by the Federal Trade Commission, based on data from 124 consumer class actions gathered from claims
27   administrators, calculated the weighted mean claims rate between 4%-5%. See Federal Trade Commission, Consumers
28   and Class Actions: A Retrospective and Analysis of Settlement Campaigns, (Sept. 2019) at p. 21.

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 1   award, like the settlement itself, is reasonable, even if the parties have already
 2
     agreed to an amount.” In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 941
 3
 4   (9th Cir. 2011). In the Ninth Circuit, as this Court is well aware, the “benchmark”
 5   for Class Counsel attorneys’ fees is typically 25% of the common fund, Bluetooth,
 6
     654 F.3d at 942. See also, Gallucci v. Boiron, Inc., No. 11-cv-2039-JAH, 2012 WL
 7
 8   5359485, at *9 (S.D. Cal. Oct. 31, 2012) (wherein this Court awarded Class Counsel
 9
     fees totaling 25% of a $5 million common fund)(citing Bluetooth, 654 F.3d at 942).
10
11         Nevertheless, attorneys’ fees exceeding the 25% benchmark have certainly

12   been approved by courts in other class action cases. See, e.g., Singer v. Becton
13
     Dickinson & Co., No. 08–CV–821–IEG, 2010 WL 2196104 (S.D. Cal. June 1, 2010)
14
15   (awarding 33.33% of $1 million settlement fund); Vasquez v. Coast Valley Roofing,
16
     Inc., 266 F.R.D. 482, 492 (E.D. Cal. 2010) (awarding 33.33% of $300,000
17
18   settlement fund); see also, Mollicone v. Universal Handicraft, No. 17-21468-CIV,

19   2018 WL 3913689, at *3 (S.D. Fla. Aug. 14, 2018) (awarding Class Counsel fees in
20
     the amount of 31.9% of the settlement fund); Rawa, 2018 WL 2389040, at *9
21
22   (awarding Class Counsel 28% of the settlement fund); Weeks v. Kellogg Co., No.
23   CV 09-08102 MMM RZX, 2013 WL 6531177, at *30 (C.D. Cal. Nov. 23, 2013)
24
     (awarding 30% of the $2.5 million settlement fund). “Selection of the benchmark or
25
26   any other rate must be supported by findings that take into account all the
27
     circumstances of the case.” Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th
28
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 1   Cir. 2002).
 2
           Although the Court is not required to make a final determination concerning
 3
 4   Class Counsel fees at the preliminary approval stage, Plaintiff respectfully submits
 5   that a fee request of 25% of the Common Fund in this case would not be
 6
     unreasonable in light of the relief obtained for the Class and the number of years that
 7
 8   Class Counsel has worked on this matter.
 9
                   4. The Parties Have No Agreements Aside from the Proposed
10                    Settlement Agreement
11
           Additionally, Rule 23(e)(3) requires that the Parties “file a statement
12
13   identifying any agreement made in connection with the [settlement] proposal.” Fed.
14   R. Civ. P. 23(e)(3).         As provided by the undersigned counsel’s Declaration
15
     supporting the Plaintiff’s Unopposed Motion for Preliminary Approval, the parties
16
17   have made no agreements in connection with this proposed settlement aside from the
18
     Settlement Agreement itself. See, Decl. of D. Byrne, at ¶ 9.
19
20             D. The Proposed Settlement Treats the Class Members Equitably
                  Relative to Each Other
21
22         Finally, in evaluating whether to grant preliminary approval of a proposed
23   Class Settlement, Rule 23(e)(2)(D) requires the Court to consider whether the
24
     Settlement Agreement “treats class members equitably relative to each other.” Fed.
25
26   R. Civ. P. 23(e)(2)(D). “A distribution of relief that favors some class members at
27
     the expense of others may be a red flag that class counsel have sold out some of the
28
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 1   class members at the expense of others, or for their own benefit.” See Final approval
 2
     criteria—Rule 23(e)(2)(D): Intra-class equity, 4 NEWBERG ON CLASS ACTIONS
 3
 4   § 13:56 (5th ed.).
 5         In this instance, the parties’ proposed Settlement treats each Settlement Class
 6
     Member equally since each one can make a claim for all their monthly out-of-pocket
 7
 8   payments for HRT prescriptions during the Class Period.
 9
           Likewise, the proposed Settlement does not grant preferential treatment to
10
11   Plaintiff April Krueger, simply because it provides for a Service Award of up to

12   $30,000. Id. at §6.2. In evaluating whether a proposed class settlement grants
13
     preferential treatment to Named Plaintiffs, the Court may consider whether there is a
14
15   “significant disparity between the incentive award[] and the payments to the rest of
16
     the class members” such that it creates a conflict of interest. Radcliffe v. Experian
17
18   Info. Solutions, Inc., 715 F.3d 1157, 1165 (9th Cir. 2013). Important considerations

19   are “the number of class representatives, the average incentive award amount, and
20
     the proportion of the total settlement that is spent on incentive awards.” In re Online
21
22   DVD-Rental Antitrust Litig., 779 F.3d 934, 947 (9th Cir. 2015) (quoting Staton, 327
23   F.3d at 977 (9th Cir. 2003)). A court may also consider “the actions the plaintiff has
24
     taken to protect the interests of the class, the degree to which the class has benefitted
25
26   from those actions, [and] the amount of time and effort the plaintiff expended in
27
     pursuing the litigation.” Staton, 327 F.3d at 977; In re Magsafe Apple Power Litig.,
28
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 1   No. 5:09-CV-01911-EJD, 2015 WL 428105, at *15 (N.D. Cal. Jan. 30, 2015).
 2
           For Plaintiff April Krueger, a Service Award of up to $30,000 is reasonable,
 3
 4   since it represents a miniscule amount of the overall Common Fund (less than
 5   0.00015%) and since she has devoted more than 16-years of her life to the
 6
     prosecution of this action on behalf of the Class.
 7
 8      V. THE PROPOSED NOTICE PLAN SHOULD BE APPROVED
 9         Fed. R. Civ. P. 23(e)(1) requires the Court to “direct notice in a reasonable
10
     manner to all class members who would be bound by the proposal.” Further, the Court
11
12   is required to “direct to class members the best notice that is practicable under the
13
     circumstances, including individual notice to all members who can be identified
14
15   through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).

16         Here, the parties’ proposed Notice Plan would follow the same parameters and
17
     use the same Notice Administrator (Kinsella Media) previously approved by the Court
18
19   for the class certification notice process. See, Doc. No. 200.                       Additionally, the
20
     proposed notice forms would provide all the information required by Rule
21
22   23(c)(2)(B), in language that is plain and easy to understand.

23         As set forth in the declaration of Kinsella Media’s President, Dr. Shannon
24
     Wheatman, Ph.D., the proposed Notice Plan involves a multi-prong state and national
25
26   Notice campaign designed to reach the greatest practicable number of Class Members
27   and ensure that they will be exposed to, see, review, and understand the Notice. See,
28
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 1   Decl. of D. Byrne, Exhibit 2 (Decl. of Shannon Wheatman, Ph.D. at ¶¶ 12, 15, 17). In
 2
     Dr. Wheatman’s opinion, the proposed Notice Plan meets due process standards and
 3
 4   provides the best notice practicable to the Class under the circumstances. Id. at 16.
 5         The proposed Notice forms include a Long-Form Notice, Summary
 6
     (Publication) Notice, Cover Letter, and Television script designed by Kinsella Media
 7
 8   and attached to the Settlement Agreement.               Id. at ¶40, see also, Decl. of D. Byrne,
 9
     Exhibits 1-A, 1-B, 1-D, and 1-E.
10
11         Dr. Wheatman’s proposed Notice Plan would consist of direct individual notice;

12   paid media in local television, magazines, a newspaper, and internet advertisements
13
     online; national media in a printed magazine and online; earned media with a
14
15   nationally distributed press release; and a dedicated website. See, Decl. of D. Byrne,
16
     Exhibit 2 (Decl. of S. Wheatman at ¶¶ 18-37).
17
18         Furthermore, Dr. Wheatman’s proposed media plan would include advertising

19   in California using local television markets throughout the state (Id. at ¶31), consumer
20
     magazines (Id. at ¶32, e.g. California AARP and People Magazines), and online
21
22   resources (Id. at ¶32, i.e. Facebook); all designed to reach California women aged 65
23   and older (65+). Id. at ¶¶ 30-34. This program is expected to reach an estimated
24
     86.5% of California women (65+) with an average estimated frequency of 4.2 times.
25
26         Moreover, Dr. Wheatman’s proposed Notice Plan includes a national media
27
     component, aimed at reaching Class Members who may now live outside of
28
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 1   California. Id. at ¶¶ 35- 36. This would include advertising in national print media
 2
     (Id. at ¶36, e.g. Good Housekeeping), national digital media (Id., e.g. AARP.org,
 3
 4   Facebook, Keyword), and national earned media (Id., e.g., nationwide press release).
 5         Additionally, the proposed Notice Plan would include an informational,
 6
     interactive website through which Settlement Class Members can file their Claim
 7
 8   Forms and obtain additional information and documents about the Settlement,
 9
     including: the Long Form Notice, Court documents, frequently asked questions, and
10
11   other information. Id. at ¶37.

12         Lastly, the Notice required by the Class Action Fairness Act, 28 U.S.C. § 1711,
13
     et seq., will be accomplished by Defendants, with the assistance of Rust Consulting in
14
15   accordance with federal requirements.
16
           Taken      as     a    whole,      Dr.    Wheatman          believes     that     “the     breadth,
17
18   comprehensiveness, and efficacy of this Notice Plan is well beyond what is typical in

19   class action notice programs today.” Id. at 46. At this time, the estimated cost of paid
20
     media alone is presently expected to be $755,809 (Id. at 46), if Kinsella can begin
21
22   booking media by March 22, 2020, and the final Notice publication can run (as
23   currently planned) on June 14, 2020. See Decl. of D. Byrne, Exhibit 2-B (proposed
24
     Notice Program Schedule). As such, the Notice Plan appears to provide the best
25
26   notice practicable under the circumstances and will fully comply with Rule 23 and
27
28
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 1   related Due Process requirements.              Accordingly, Plaintiff respectfully moves the
 2
     Court to approve the parties’ proposed Notice Plan
 3
 4      VI.    PROPOSED FINAL APPROVAL SCHEDULE AND DEADLINES
 5         Finally, the parties respectfully propose the following deadlines and schedule
 6
     for the Court’s final approval hearing:
 7
 8                           EVENT                                   [PROPOSED] DEADLINE
 9
       Notice Program to Begin. Notice Packages                     Within 45 days of the Court’s
10
       to be Mailed to Pre-Registered Class                         Preliminary Approval Order.
11     Members.
12
13
       Claims Administrator to Launch Settlement                    Within 45 days of the Court’s
14
       Website and Begin Accepting Claims.                          Preliminary Approval Order.
15
16
17     Final Media Publication - Notice Program                     June 14, 2020 - Based on
18     Ends.                                                        current TV and publication
                                                                    schedule.
19
20
21     Class Counsel to File Motion for Attorneys’                  Within 45 days of the Court’s
22     Fees and Expenses and Plaintiff Service                      Preliminary Approval Order.
       Award.
23
24
25     Deadline for Class Members to File                           July 14, 2020 (Within 30 days
26     Objections with the Court, along with their                  of Final Notice media
       Final Fairness Hearing Briefs, and Requests                  publication).
27
       to Appear at the Hearing.
28
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 1
 2     Deadline for Class Members to Submit                         July 14, 2020 (Within 30 days
       Exclusion Requests (Opt-Outs) to the                         of Final Notice media
 3
       Claims Administrator.                                        publication).
 4
 5
 6     Deadline for the Claims Administrator to                     July 24, 2020 (Within 10 days
       File an Exclusion Request (Opt-Out) Report                   of the Opt-Out deadline).
 7
       with the Court.
 8
 9
10     Deadline for Class Counsel to File Motion                    August 1, 2020 (14 days prior
       for Final Approval and Responses to                          to   the    Final    Fairness
11
       Objections.                                                  Hearing).
12
13
14     FINAL APPROVAL HEARING                                       August 14, 2020 (or, as soon
15                                                                  thereafter as practicable).

16
17                                                                  September 1, 2020 (4-months
18     Deadline for Class Members to Submit                         after Notice Program begins
19     Claim Forms                                                  and Notices are mailed).

20
21                                             CONCLUSION
22
23         For the reasons set forth above, Plaintiff respectfully urges the Court to enter

24   an order providing for: (1) the preliminary approval of the Class Settlement; (2) the
25
     approval of the proposed Class Notice Plan prepared by Kinsella Media; (3) the
26
27   approval of Rust Consulting as the Claims Administrator; (4) the approval of the
28
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 1   parties’ proposed Claims process; and, (5) the approval of the parties’ proposed
 2
     deadlines and schedule for the Court’s Final Approval Hearing.
 3
 4
     Dated: March 11, 2020                         Respectfully submitted,
 5
 6                                                 /s/ David B. Byrne, III
 7                                                 Andy D. Birchfield, Jr.
 8                                                 P. Leigh O’Dell
                                                   David B. Byrne, III
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26                                                 Individually and on Behalf of All Others
27                                                 Similarly Situated

28
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